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AO 245B (Rev. 11116)    Judgment in a Criminal Case
                        Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                                                                              JAMES
                                                                                                                         ~DECO 6 2017
                                                           Eastern District of Arkansas                       By:              c    't foCK, CLERK
              UNITED STATES OF AMERICA                                     ))     JUDGMENT IN A CRIMINAL CASE
                                   v.                                       )
                                                                           )
                       JACQUELINE D. MILLS                                        Case Number: 4:14cr00250-03
                                                                           )
                                                                            )     USM Number: 28918-009
                                                                           )
                                                                           )       John Wesley Hall
                                                                                  Defendant's Attorney
                                                                           )
THE DEFENDANT:
D pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
   which was accepted by the court.
liZI was found guilty on count(s)         1, 2-26, 42-51, 52-54    Oft -(11£ f'N/1<4 ~ 11'~
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
 18 USC§ 1349                       Conspiracy to Commit Wire Fraud                                          8/31/2014

 18 USC§ 1343                       Wire Fraud                                                               8/31/2014                    2-26 ~.SS
 18 USC§ 666(a)(2)                  Paying a Bribe to an Agent of a State Agency Receiving                   8/31/2013                    42-51SS's
                                    Federal Funds
       The defendant is sentenced as provided in pages 2 through          __8_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                              Dis        D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material clianges in econmmc circumstances.




                                                                          U.S. DISTRICT JUDGE JAMES M. MOODY JR.
                                                                         Name and Title of Judge


                                                                                IZ 1to/11
                                                                         Date         I      J
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AO 245B (Rev. 11116)   Judgment in a Criminal Case
                       Sheet IA
                                                                                     Judgment-Page   _2_ of         8
DEFENDANT: JACQUELINE D. MILLS
CASE NUMBER: 4:14cr00250-03

                                          ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                             Offense Ended           Count
18 USC§ 1957                      Money Laundering                              2/17/2012               52-54 SS5
                      Case 4:14-cr-00250-JM                Document 295          Filed 12/06/17         Page 3 of 12
AO 245B (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                                    3_ of
                                                                                                    Judgment-Page _ _       8
 DEFENDANT: JACQUELINE D. MILLS
 CASE NUMBER: 4:14cr00250-03

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
  150 MONTHS on Counts 1-26 to run concurrent; 120 MONTHS on Counts 42-54 to run concurrent. All Counts to run
  concurrent.



     liZf The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends the defendant participate in mental health counseling; The Court also recommends the defendant be
  designated to FCI Carswell to be close to family.


     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
           D at - - - - - - - - - D a.m.                       D p.m.       on

           D   as notified by the United States Marshal.

     ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           00 before 2 p.m. on         1/31/2018

           D as notified by the United States Marshal.
           D   as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                      to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                           By
                                                                                            DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                        Judgment-Page     4    of         8
DEFENDANT: JACQUELINE D. MILLS
CASE NUMBER: 4:14cr00250-03
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:        THREE (3) YEARS on each Count
                                                                                        to run concurrent

                                                    MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.    l!1" You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.    D You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 2458 (Rev. 11116)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment-Page _ _ _ _ _ of _ _ _ _ __
DEFENDANT: JACQUELINE D. MILLS
CASE NUMBER: 4: 14cr00250-03

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least IO
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
                                                                                                                -----------~
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AO 245B (Rev. 11/16)    Judgment in a Criminal Case
                        Sheet 3B - Supervised Release
                                                                                              Judgment-Page __6.___ of        8
DEFENDANT: JACQUELINE D. MILLS
CASE NUMBER: 4:14cr00250-03

                                      ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant will disclose business and personal information including all assets {including unexpected financial
 gains) and liabilities to the probation office. The defendant will not transfer, sell, give away, or otherwise convey any asset
 without approval from the probation office.

 15) The defendant will not make application for any loan or enter into any credit arrangement without approval from the
 probation office unless all criminal penalties have been satisfied.

 16) The defendant will participate in a mental health program under the guidance and supervision of the probation office.
 The defendant will pay the cost of treatment at a rate of $10 per session, with the total cost not to exceed $40 per month,
 based on ability to pay as determined by the probation office. In the event the defendant is financially unable to pay for the
 cost of treatment, the co-pay requirement will be waived.

 17) The defendant will participate in a cognitive behavioral treatment program such as Moral Reconation Therapy, under
 the guidance and supervision of the probation office.
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AO 245B (Rev. 11116)    Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                                Judgment-Page _    _._7_   of   8
 DEFENDANT: JACQUELINE D. MILLS
 CASE NUMBER: 4:14cr00250-03
                                                CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                  JVTA Assessment*                         Fine                     Restitution
 TOTALS              $ 3,900.00                  $ 0.00                                  $ 0.00                    $ 3,014,276.87



 D The determination ofrestitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
        If the defendant makes a partial payment, each payee shall receive an approximately proportioned P,a~ent, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
        before the United States is paid.

  Name of Payee                                                                      Total Loss**      Restitution Ordered Priority or Percentage
       USDA/FNS (Lockbox) Attn: Accounting Division                                   $3,014,276.87         $3,014,276.87

       P.O. Box 979027, St. Louis, MO 63197-9000




TOTALS                                                                         s        3,014,276.87 $_ _~3,~0_14~,2_7_6_.8_7


D        Restitution amount ordered pursuant to plea agreement $

D        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

!!ti     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         ~ the interest requirement is waived for the           D       fine       !!ti restitution.
         D the interest requirement for the         D fine          D     restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                             Judgment - Page   _8=--- of              8
 DEFENDANT: JACQUELINE D. MILLS
 CASE NUMBER: 4:14cr00250-03

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      ~    Lump sum payment of$          3,900.00              due immediately, balance due

            D     not later than                                    , or
            D     in accordance with D        c,    D    D,    D     E, or     D Fbelow; or

B     D     Payment to begin immediately (may be combined with               DC,         DD, or       D F below); or

 C    D     Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                     (e.g., 30 or 60 days) after the date of this judgment; or

D     D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ~     Special instructions regarding the payment of criminal monetary penalties:

            Restitution in the amount of $3,014,276.87 is also due immediately, and any unpaid balance will be payable during
            incarceration. During Incarceration the defendant will pay 50 percent per month of all funds that are available
            to her. During residential re-entry placement, payments will be 10 percent of the defendant's gross monthly income
            Beginning the first month of supervised release, payments will be 1O percent per month of the defendant's gross
            monthly income.
Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




l!I   Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       Restitution will be joint and several with any other person who has been or will be convicted on an offense for which
       restitution to the same victim on the same loss is ordered.



D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

~     The defendant shall forfeit the defendant's interest in the following property to the United States:
       see attached PRELIMINARY ORDER OF FORFEITURE entered on 4/25/2017

Payments shall be applied in the following order: (1) assessment, (2) restitution principali (3) restitution interest1 (4) fine principal, (5) fine
interest, (6) commuruty restitution, (7) JVTA assessment, (8) pena1ties, and (9) costs, me udmg cost of prosecution and court costs.
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      .        .             IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF ARKANSAS

 UNITED STATES OF AMERICA

 v.                                         No. 4:14CR00250-3 JM

 JACQUELINE D. MILLS

                             PRELIMINARY ORDER OF FORFEITURE

          IT IS HEREBY ORDERED THAT:

          1.       As the result of the jury's determination that Jacqueline D. Mills ("Defendant")

 committed the offenses charged in Counts 1 through 26 of the Third Superseding Indictment,

 Defendant shall forfeit to the United States, under 18 U.S.C. § 982(a)(3)(F), the following

 properties:

                   A. The property and residence located at 648 Beechwood Drive, Helena,

                        Arkansas;

                   B. The property, residence, and vacant lot located at 430 St. Jean Drive, West

                        Helena, Arkansas;

                   C. $187,640.67 seized from Southern Bancorp account number xxx1086;

                   D. $152,977.27 seized from Southern Bancorp account number xxx5371;

                   E. $79,302.77 seized from First National Bank of Eastern Arkansas account

                        number xxx0951;

                   F. $50,816.92 seized from Southern Bancorp account number xxx0649;

                   G. $15,141.93 seized from Southern Bancorp account number xxx4352;

                   H. $5,413.88 seized from Southern Bancorp account number xxx9262;

                   I.   $2,086.66 seized from Southern Bancorp account number xxx8847;

                   J. $9,000.00 U.S. Currency withdrawn from Southern Bancorp account number
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                    xxx1086 and seized from Rosie Farr;

                K. One 2012 Chevrolet G3500, VIN lGAZGYFGICl 131631;

                L. One 2011 GMC Sierra, VIN 1GTNIVE02BZ246765;

                M. One 2007 Chrysler Town & Country, VIN 2A4GP54L67R259145; and

                N. One 2002 Chevy Tahoe, VIN 1GNEC13Z92R158825.

 See Forfeiture Verdict Forms, Dkt. 203, at 1-8.

        2.      In addition, Defendant is ordered to pay a personal money judgment in the

 amount of $3,093,641.86, which represents the gross receipts Mills received from her

 participation in the Feeding Programs. See Government's Trial Exhibits 1 and 2.

        3.      In addition to the properties described in paragraph 1, the United States has in

 custody, the following properties--(!) $103,555.14 seized from Southern Bancorp certificate

 of deposit account number xxx9049, (2) $8,723.76 seized from Helena National Bank account

 number xxx9182, and (3) one 2007 Lexus LS460, VIN JTHBL46F275034049.               The properties

 described in this paragraph and in paragraph 1 shall be credited toward satisfaction of the money

judgment. Concerning the vehicles and real properties, the credit shall be applied after those

 properties are sold and the proceeds are first used to pay any storage fees and other costs

 associated with the storage and disposal of those assets.

        4.      Upon the entry of this Order, the United States Attorney General or a designee

 (collectively "Attorney General") is authorized to seize the above-listed property and to conduct

 any discovery proper in identifying, locating, or disposing of the property subject to forfeiture.

Fed. R. Crim. P. 32.2(b)(3). Further, the Attorney General is authorized to commence any

applicable proceeding to comply with statutes governing third party rights.

        5.      The United States shall publish, in such a manner as the Attorney General may
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 direct, notice of this Order and the United States' intent to dispose of the property subject to

 forfeiture. The United States may also, to the extent practicable, provide written notice to any

 person known to have an alleged interest in the property subject to forfeiture.

         6.     Any person, other than Defendant, asserting a legal interest in the property subject

 to forfeiture may petition the Court for a hearing without a jury to adjudicate the validity of his

 or her alleged interest in the property and for an amendment of this Order. See 21 U.S.C. §

 853(n)(2); 28 U.S.C. § 2461(c).        This petition must be filed within 30 days of the final

 publication of notice or receipt of notice, whichever is earlier. 21 U.S.C. § 853(n)(2).

         7.     This Preliminary Order of Forfeiture shall become final as to Defendant at the

 time of sentencing and shall be made part of the sentence and included in the judgment. Fed. R.

 Crim. P. 32.2(b)(4)(A). If no third party files a timely claim, this Order shall become the Final

 Order of Forfeiture. Fed. R. Crim. P. 32.2(c)(2).

        8.      Any petition filed by a third party asserting an interest in the property subject to

 forfeiture shall be signed by the petitioner under penalty of perjury and shall set forth the nature

 and extent of the petitioner's right, title, or interest in the property subject to forfeiture, the time

 and circumstances of the petitioner's acquisition of the right, title or interest in the property

 subject to forfeiture, any additional facts supporting the petitioner's claim and the relief sought.

        9.      After the disposition of any motion filed under Federal Rule of Criminal

 Procedure 32.2(c)(l)(A) and before a hearing on the petition, discovery may be conducted in

 accordance with the Federal Rules of Civil Procedure upon a showing that such discovery is

 necessary or desirable to resolve factual issues.

         10.    The United States shall have clear title to the property subject to forfeiture

 following the Court's disposition of all third-party interests, or, if none, following the expiration
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 of the period provided for the filing of third party petitions.

         11.    The Court shall retain jurisdiction to enforce this Order and to amend it as

 necessary. See Fed. R. Crim. P. 32.2(e).

         SO ORDERED this 25•h day of April 2017.



                                                    J&h;"°fl·
                                                    United States District Judge
